                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                 Case No. 20-CR-88-10-JPS
 v.

 DANIEL BERCZYK,
                                                                 ORDER
                      Defendant.


       On June 16, 2020, the grand jury returned an indictment, charging

Defendant with violating 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), 846, and 18

U.S.C. § 2. (Docket #1). On October 12, 2021, the Government filed a one-

count information, charging Defendant with violating 21 U.S.C. § 843(b).

(Docket #230). On October 11, 2021, the parties filed a plea agreement,

indicating that Defendant has agreed to plead guilty to Count One in the

Information. (Docket #229).

       The parties appeared before Magistrate Judge William E. Duffin on

October 22, 2021 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #237). Defendant entered a plea of guilty as

to Count One of the Information. (Id.) After cautioning and examining

Defendant under oath concerning each of the subjects mentioned in Rule

11, Magistrate Judge Duffin determined that the guilty plea was knowing

and voluntary, and that the offenses charged were supported by an

independent factual basis containing each of the essential elements of the

offenses. (Id.)

       On October 22, 2021, Magistrate Judge Duffin filed a Report and

Recommendation with this Court, recommending that: (1) Defendant’s plea



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of guilty be accepted; (2) a presentence investigation report be prepared;

and (3) Defendant be adjudicated guilty and have a sentence imposed

accordingly. (Id.). Pursuant to General Local Rule 72(c), 28 U.S.C.

§ 636(b)(1)(B), and Federal Rule of Criminal Procedure 59(b), the parties

were advised that written objections to that recommendation, or any part

thereof, could be filed within fourteen days of the date of service of the

recommendation. (Id.) To date, no party has filed such an objection. The

Court has considered Magistrate Judge Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s Report

and Recommendation (Docket #237) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 16th day of November, 2021.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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